                     Case: 23-5795   Document: 11   Filed: 01/02/2024   Page: 1

    RECEIVED
        01/02/2024
KELLY L. STEPHENS, Clerk     Case Nos. 23-5795 and 23-6108


             In the United States Court of
             Appeals for the Sixth Circuit

                  HONORABLE ORDER OF KENTUCKY COLONELS, INC.
                                   Plaintiff - Appellee
                                            v.
                   KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
                INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
               FOUNDATION, INC.; and UNKNOWN DEFENDANTS (Defendants)
                                            by
                     COL. DAVID J. WRIGHT, KENTUCKY COLONEL
                           Defendant - Appellant - Whistleblower

                 ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                             LOUISVILLE CIVIL DIVISION
                      DISTRICT COURT ORDERS IN CASE NUMBERS

                                        3:20-cv-00132
                                        3:23-cv-00043
                           MOTION FOR AFFIRMATIVE RELIEF
                            MOTION TO CONSOLIDATE APPEAL
                         MOTIONS FOR SPECIAL CASE DESIGNATION

                                     Col. David J. Wright
                     Goodwill Ambassador for the Commonwealth of Kentucky
                      302 General Smith Drive | Richmond, Kentucky 40475
                                         (859) 379-8277
                               Appellant Pro Se in Forma Pauperis
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                        UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                CASE NO. 23-5795 and 23-6108


                  HONORABLE ORDER OF KENTUCKY COLONELS, INC.
                                            Plaintiff-Appellee
                                                      v.
                   KENTUCKY COLONELS INTERNATIONAL; GLOBCAL
               INTERNATIONAL; ECOLOGY CROSSROADS COOPERATIVE
                    FOUNDATION, INC.; and UNKNOWN DEFENDANTS
                                                Defendants


                                                     By
                     COL. DAVID J. WRIGHT, A KENTUCKY COLONEL
                                           Defendant-Appellant



                     MOTION FOR AFFIRMATIVE RELIEF

       Comes now, Col. David J. Wright (“Colonel Wright”) or (“Appellant”), a pro se in forma

pauperis defendant/appellant in the matter: [The] Honorable Order of Kentucky Colonels, Inc. v.

Kentucky Colonels International (an unincorporated defunct association), et. al. admitted as Sixth Circuit

Court of Appeals Case Nos. 23-5795 and 23-6108, to present appeals from Western Kentucky District

Court Cases 3:20-cv-00132 and 3:23-cv-0043 pursuant to Federal Rules of Appellate Procedure, Rules 2,

3, 4, 8, 18, 24, 26, 27, 44 and 48. If the Appellant does not request affirmative relief and make these motions

no one else will, this motion affirms and combines all relative pending actions making it affirmative relief.


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                                           BACKGROUND

       This case before the Court involves what could have been two landmark trade name vs. trademark

cases that never saw their glory because they were brought in bad-faith to retaliate against the Appellant (a

donor, member, volunteer and whistleblower) for commenting on public policy, the Appellee’s organization,

disclosing closely-held information researched online, publishing news articles, and making a

“disambiguated semantic editorial soup” from the Appellee’s trademark “KENTUCKY COLONELS” for

several of their products as a descriptive and generic term and keyword idea for concepts born in history,

belonging to the defendant, and existing in the public domain dating back to 1775, in an organizational

schism that was dismissed with prejudice in light of a confidential court-mediated settlement conference

under a mistaken agreed permanent injunction that was sanctioned and a non-effectual post-settlement

agreement became ambiguously confused with a confounding persistent preliminary injunction that was

erroneously issued against the Appellant and held against him as a protective order for the Appellee’s

commercial benefit based in judicial bias and deference for the Plaintiff’s law firm because the organization

is a charity solely upon its own request, notwithstanding consideration of trademark law or the

constitutional and common-law civil rights of the Defendant, or as a member. The invalidated preliminary

injunction was mistaken and reinforced in place of the different equitable agreed permanent injunction

prejudicing the Defendant in a 2023 court order. The Law Firm is well known to the District Court, some of

the judges and court staff have worked for the Plaintiff’s law firm (one recusal), the Plaintiff is very

well-known in the Kentucky Western District Court of Louisville Community-at-Large because it holds

events associated with local tourism, fundraises for a local good works fund, runs local public service

announcements in the media and has annual events in conjunction with the Kentucky Derby, many of the

U.S. District Court judges (another recusal) and many court officers are Kentucky Colonels and thus

members of the Plaintiff’s organization automatically. The Law Firm presented the Plaintiff without



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disclosing the specific uses of the mark, but instead how a related mark required immediate protection of the

charity’s goodwill to protect the public interest which was with their own name “HONORABLE ORDER

OF KENTUCKY COLONELS”, the trademarks in question “KENTUCKY COLONELS” previously used

for barbecue sauce, cigars, chocolates, keychains, and t-shirts that were ambiguously confused with those

that were actually those filed three days before the lawsuit on February 17, 2020. The Appellant is appealing

the cases because the U.S. District Court never should have taken them on and should have protected the

civil rights and constitutional rights of the Defendant as a donor, 20+ year member, volunteer and

whistleblower based on information disclosed in his affidavit submitted to the court for the first hearing late

on March 04, 2020, before being considered inconsequential evidence and moreover too late for the hearing

by Judge Rebecca Grady Jennings several days afterwards on March 09, 2020 when she took over the case

after the second recusal within the first 14 days. Subsequent orders are all based on a judicial bias that was

developed on the presentation of the Plaintiff up until March 04, 2020, notwithstanding the Article III

standing and consideration of the only human Defendant, despite his Answer, Affirmative Defenses, and

Motions that were filed within timely guidelines later and never heard or unresponded by the Plaintiff

claiming irrelevance. The District Court is terribly mistaken if it believes it can find a Kentucky Colonel

guilty, in contempt or sanction them for violating the terms of an invalid preliminary injunction or based

withstanding two complaints that were dismissed with prejudice, one by mutual agreement and one by the

court in favor of the first. The court’s orders are nothing but statuteless balderdash that conspires to deny

and restrict the Appellant’s inalienable civil rights and the rights established under any/all applicable

fair-use exceptions not considered by the court.

       Reopening the confidentially settled case 3:20-cv-00132 disrupted its finality, undermined

appellant’s expectations, broke confidential covenants, sought to damage (and did damage) retained rights

and property, and now risks eroding the integrity of the judicial system with a broken promise (renegation)




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manifested by a US court of laws. Strict protocol protects these vital interests by ensuring only truly

exceptional circumstances, demonstrably new evidence, or clear procedural errors warrant revisiting,

reopening or superseding cases governed by confidential agreements.


                                       REASONABLE MOTION

“One of the great challenges in this world is knowing enough about a subject to think you're wright, but not
enough about the subject to know you're wrong.” ― Col. Neil deGrasse Tyson - (emphasis added)

       The Pro Se Appellant, Colonel Wright sets forth, this filing is a special preliminary combination

motion for affirmative relief and is progressive litigation of justice to demonstrate the appellant’s desire

and eagerness to continue in this action as the Appellant. This combination motion should be heard in

conjunction with appellant’s “Motion for Time and Date to File Appellant's Brief and Request for

Discretionary Relief” in 23-5795 [Document: 9] Filed: 11/03/2023, Pages: 1-14, which are herein

consolidated based on “Committee Notes on Rules—1998 Amendment” (paragraph 3) which state: A

party filing a [motion,] response [or reply] in opposition to a motion may also request affirmative relief. It is

the Advisory Committee's judgment that it is permissible to combine the response and a new motion in the

same document. Indeed, because there may be substantial overlap of arguments in the response and in the

request for affirmative relief, a combined document may be preferable. If a request for relief is combined

with a response [or reply], the caption of the document must alert the court to the request for relief. The time

for a response to such a request and for reply are governed by rules regulating responses. As a general rule,

either party can file a motion for affirmative relief at any time for the right reasons.

       This filing also takes into consideration pending matters in Case No. 23-5795 like [Document 10]

which is an inadequate bad-faith and prejudicial response filed by the appellee of the appellant’s previous

motion [Document 9] which the Appellant has foregone a formal reply to the response, except with a single

word “prejudicial”, herewith is set forth in this new motion for affirmative relief to “combine and


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consolidate” should all be treated together as related; but also, because they are all immediately actionable

by the court; forthwith, without delay, and without prejudicing or anticipating the necessity of further

dilatory, prejudicial or vexatious responses or replies from the appellee at this stage; while the burden

(including this preliminary motion for affirmative relief in good-faith) remains on the Appellant to make

and present his Appellate Brief; normally, once the Appellate Brief has been filed the Appellee is given

plenty of opportunity to file a Reply Brief and respond to any preliminary or post scheduling motions

granted. This is not a district court where the plaintiff sets the impartial stage or denies the Appellant any

remedies that are available or favorable to expedite and facilitate justice, preventing access to these

remedies is prejudicial.

       It should be noted, without elaboration, that there is clearly sound basis, in fact, for the Appellant’s

assumptions based on precedent from the Alabama Court of Appeals, in a case involving petitioners, which

held that the ordinance is "void for vagueness because of overbroad, and consequently meaningless,

standards for the [protection] of [registrations] for [trademarks]," and that the [agreed order] [can only be]

enforced discriminatorily. Shuttlesworth v. City of Birmingham, 43 Ala.App. 68, 180 So. 2d 114 (1965) -

(substitutions made with emphasis added). It was not the merits of such claims, but the refusal of the

Alabama lower courts to consider them [in-law], that were involved according to the Appellate Court.

       This case is extraordinary because the Appellant has become a victim of a retaliatory public action

and hazing campaign filed and created by the Appellee that has disarmed and prejudiced the appellant of his

civil rights, created an apprehensive hostile environment, and alienated him from his personal property, real

estate and intellectual property more than 20 years ago. So much so that, the Sixth Circuit Court of Appeals

will need to administratively frame the case notwithstanding the District Court Opinions or the Plaintiff

ethically as an appeals court should to avoid prejudicing the Appellant from the free exercise of his rights in

the filing and presentation of his appeal:




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   ● Implied Duty of Candor and Fairness: Appellees and Appellants have an implied duty to act with

       candor and fairness towards the court and each other. This duty extends to refraining from actions

       that deliberately prejudice the other party's ability to present their case.

   ● Violation of Rules of Professional Conduct: Attorneys representing the Appellee are bound by the

       Rules of Professional Conduct, which emphasize their duty to avoid unfair tactics and

       misrepresentations that harm the opposing party. Engaging in behavior that prejudices the Appellant

       could be considered a violation of these rules and subject the attorney to disciplinary action.

   ● Potential Sanctions: If the Appellee's actions directly interfere with the Appellant's right to a fair

       hearing, the court may issue sanctions. These can range from reprimands and fines to dismissal of

       the Appellee's arguments or even reversal of the lower court's judgment.

   ● Examples of Prejudicial Conduct: Witness tampering, intimidation, harassment, fraudulent

       concealment, influence       peddling, or bribery aimed at affecting the Appellant's case;

       misrepresentations or fabrications of evidence presented to the court; unlawful obtention of evidence

       during an investigation; spreading malicious rumors or damaging information about the Appellant to

       unfairly influence the court's opinion, or engaging in destructive, disruptive, or obstructive behavior

       during the appeal process.

       The Appellant sets forth, he asserts the reservation of his rights to file various preliminary motions

consistent with the Sixth Circuit’s local rules that are permitted under the Federal Rules of Appellate

Procedure without being admonished, challenged, chastised, criticized, discriminated upon, handicapped,

labeled, mocked, ridiculed, or in any other way prejudiced as an inferior or inexperienced “Pro-Se

Appellant” opponent by the Appellee, these motions may include:

       Motion to stay: This requests the court to temporarily halt the lower court's decision or execution of

its judgment while the appeal is pending. This could be relevant if the initial judgment poses immediate




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harm to the appellant or if the judgment was not automatically stayed on appeal or through the interlocutory

jurisdiction of the court based on the nature of the appeal.

       Motion to expedite: If the case involves urgent concerns or continuing potential irreparable harm,

an appellant might request the court to expedite the appeal process.

       Motion to appoint special master: If the case was erroneously framed, involves an Appellant’s

civil rights, involves fraud, whistleblowing or is subject to an Article 1 divisional court jurisdiction - a

special master can be designated upon motion or solely at the discretion of the Court to expedite it.

       Motion to consolidate appeals: Multiple appeals related to the same case can be consolidated on

motion or by the court. Consolidation is affirmative relief if it streamlines the process and avoids

redundancy, without prejudice to the parties.

       Motion to clarify or modify the lower court's judgment: The original judgment contains

ambiguities and inconsistencies that form the basis for this appeal.

       Motion to file in forma pauperis: This allows the Appellant to continue to proceed on appeal

without paying court fees if he/she/they can demonstrate financial hardship. This is done with an affidavit

detailing income and assets [that is not more than 6 months old].

       Motion to appoint pro bono counsel: An appellant unable to find legal representation may have

some time to petition the court to appoint an attorney or help them find a pro-bono attorney to assist them

for free in civil rights cases. Due to the magnitude and size of the case and the time required to understand

the complexity of the case can be considered as factors that are out of reach to the appellant and demonstrate

a need for counsel.

       Motion to extend time: Filing deadlines are crucial, but extensions can be necessary in complex

cases or if an Appellate party lacks legal assistance. These motions must be justifiable requests with specific

reasons and timelines without prejudicing the parties.




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       Motion to compel discovery: If certain evidence was blocked, denied or unheard in the lower court,

an appellant can request access to its consideration in their appeal. The appellant must demonstrate its

relevance and how it strengthens their case.

       The Appellee should be assured that none of these motions are prejudicial to the appellee, if made,

they are all made in good-faith, and to confront and prepare the appellee for the battle to come; but also

warned that opposition to preliminary pro se appellant/defendant motions for affirmative relief will be

considered as prejudicial by their very nature of denying rights that the Appellant may have available to him

or consideration that should be in place for an expert, 20 year colonel proceeding pro se in forma pauperis.

       There are other motions as well that an Appellant may want to file preliminarily (early in the case)

and a number of motions and pleadings that the Appellant may file once a case has been docketed, but

generally it is the appellant that is to perform and present the the case, not the appellee:


1. Appellant's Burden of Persuasion: The appellant bears the burden of persuasion in an appeal, meaning

he must prove the lower court committed reversible error. This involves demonstrating, through arguments

and evidence, that the decision or case was:

   ● Legally erroneous: The court misapplied and/or misinterpreted the law.

   ● Procedurally flawed: The case was presented as a SLAPP action.

   ● Factually flawed: The decision was based on clearly erroneous findings of fact.

   ● Abuse of discretion: The court unreasonably exercised its discretion in making its ruling.

   ● Mistaken errors: The court mistook previous orders for current ones.

   ● Fraudulent and misrepresented: The court failed to take notice of fraudulent activity.

2. Standard of Review: Depending on the issue being considered within the appeal, different standards of

review apply. These standards influence the level of scrutiny the appellate court gives to the lower court's

decision and the degree of evidence the appellant needs to present to succeed. In reviewing factual findings,



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the court typically applies a "clearly erroneous" standard. This means the appellant must show that the

evidence overwhelmingly contradicts the lower court conclusions. There are additional standards of review

and it is the appellant that must request them.

3. Appellate Brief Requirements: Appellate rules require the appellant to submit a brief outlining the legal

and factual basis for their appeal. This brief serves as the appellant's primary tool for explaining why the

lower court erred and why the appellate court should reverse the judgment or take other requested actions to

make a remedy.

4. Appellant's Responsibility: The fundamental principle that the burden of persuading the Circuit Court

that the District Court erred is upon the appellant. Appellant has a responsibility to "marshal its arguments"

and properly analyze the facts in support of its appeal.

5. Caveat: While these principles learned reviewing cases underscore the appellant's responsibility to build

a strong case for appeal, it's important to remember that the appellate court also plays an active role in

ensuring a fair and complete review. Judges may ask questions, request additional information, and engage

in dialogue with the parties to fully understand the issues presented. The United States Circuit Courts takes

their work very seriously in the interest of justice for all.


        This filing treats the following issues as affirmative relief for progressive litigation in a logical and

reasonable preliminary order for this case:

    A. Motion to Combine 6th Circuit Appeals 23-5795 and 23-6108

    B. Motion to Recognize the Appellant Pro Se in Forma Pauperis

    C. Motion to Designate Pro-Bono Civil Rights Counsel

    D. Motion to Extend Appellant Initial Briefing Schedule

    E. Motion to Designate Special Master and Suspend Court Rules




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In Simpson v. Superior Court, 68 Cal. App. 2d 821, 824-825, the court held that the expression "affirmative
relief sought" as provided, … "does not include mere defensive matter, by whatever name it may be called.
... By affirmative relief as used ... is meant the allegation of new matter which in effect amounts to a
counterattack. In other words, the relief sought, [126 Cal. App. 2d 683] if granted, operates not as a defense
but affirmatively and positively to defeat plaintiff's [original] cause of action." Wilson v. L. A. County Civil
Service Com. (1954)

       In a complex, three-year litigation where the errors originated in the case's initial framing by the

plaintiff and the court, a defendant/appellant has various options to seek redress from the 6th Circuit

Appellate Court. Here are several possibilities of the outcomes:

   ● Vacate and remand: Request the court to vacate the lower court's decision and send the case back

       for a new trial, allowing Appellant to [re-]present the case properly under the correct framing and

       judicial procedure.

   ● Reverse and remand with instructions: Similar to "vacate and remand," but the appellate court

       provides specific instructions to the lower court on how to proceed, addressing the initial framing

       error and other errors presented. The Court may also relocate the district court venue based on

       reasons presented in this appeal with the same instructions.

   ● Modify the judgment: If the error only affected part of the lower court's decision, the Appellant can

       request the appellate court to modify the judgment in favor of those specific points being presented.

   ● Suppression of evidence: If improper, controversial or fraudulent evidence was admitted due to the

       framing error, request its suppression and a new trial based on validated evidence.

   ● Retribution against appellee: Depending on the severity of the error and the appellee's conduct, the

       appellant may request the appellate court to impose sanctions on an appellee, such as attorney fee

       reimbursement, loss of income, or even damages for bad faith litigation.

   ● Counterclaims: If the appellee's initial framing caused appellant legal harm/injury beyond the loss

       of the case, an appellant could file counterclaims seeking damages for the actions.



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   ● Reparations for property loss: Damages and request monetary compensation for the loss of use of

       appellant’s property due to the unlawful impact of the lower court's decision.

   ● Declaratory judgment: In a case like this one that involves ambiguity over ownership or property

       rights, an appellant can seek a declaratory judgment from the appellate court clarifying the

       appellant’s rightful position.

   ● Writ of mandamus: This is a rare effective remedy that can be sought if the lower court clearly and

       demonstrably abused its discretion by upholding the flawed framing of the case.

   ● Constitutional arguments: If the initial framing violated the appellant’s civil or constitutional

       rights, such as due process, they can raise these arguments to challenge the entire court decision and

       procedural process.

   ● Appealing the initial framing error: Since the error lies at the core of the case, the appellant must

       build the appeal around challenging the initial framing by the plaintiff and the court. This could

       involve arguing that the lower court should have recognized and corrected the framing error at the

       beginning.


       WHEREFORE, based on the foregoing reasons, Appellant most humbly and respectfully requests

that this Court hear this motion for affirmative relief in its entirety or in-part and prepare an appropriate

order reflecting the related preliminary motions A-E (superscribed) for the affirmative relief desired by the

appellant.



        A. MOTION TO COMBINE RELATED APPEALS 23-5795 AND 23-6108

       Appellant, Colonel Wright, hereby moves to consolidate or join the two above-captioned appeals,

which arise from the same district court case and involve related issues. No definitive briefing schedule




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has yet been issued in either matter, no briefs have been filed, and Appellant respectfully asks that a single

briefing and argument schedule govern the matter as consolidated.

5 CFR § 1201.36 - Consolidating and joining appeals.

       (a) Explanation.

               (1) Consolidation occurs when the appeals of two or more parties are united for consideration

       because they contain identical or similar issues. For example, individual appeals rising from a single

       reduction in force might be consolidated.

               (2) Joinder occurs when one person has filed two or more appeals and they are united for

       consideration.

       (b) Action by judge. A judge may consolidate or join cases on his or her own motion or on the

motion of a party if doing so would:

               (1) Expedite processing of the cases; and

               (2) Not adversely affect the interests of the parties.

In support of the motion the Appellant states as follows:

   1. The district court case underlying both appeals arises out of claims of alleged trademark

       infringement, dilution, disparagement, and confusion caused or committed by Appellant exercising

       his civil, common-law, and constitutional rights on Wikipedia, Facebook, Google, Archive.org, the

       Library of Congress, and Blogger in consensus with Federal Law Title 15 U.S. Code § 1125, not

       against it. The district court case is also a result in the court’s mistaken reliance on the appellee’s

       urgent need of a discretionary temporary preliminary injunction’s blanket protection diminishing,

       restricting, and violating the Appellant’s civil rights to protect a charitable fictional idea and local

       Louisville entity, not a trademark.




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2. At issue in No. 23-5795 and 23-6108 is a preliminary injunction that was mistaken for an agreed

   permanent injunction causing irreparable damage to the appellant and unlawfully applied sanctions

   based on prejudice, discrimination, judicial bias, and inequitable deference, without consideration

   for any type of fair-use and the appellant’s 20+ year relationship with the appellee as a donor,

   member and volunteer, and as the author of the intellectual property in question (a name, trademark,

   and website title) originated by appellant, then unlawfully reclaimed by the appellee/plaintiff in 2003

   as a U.S. Trademark.

3. At issue in 23-5795 and 23-6108 is the general breakdown and failure of the district court to treat the

   parties with equity obtained during a confidential settlement conference from an ad hoc sweeping

   "temporary structural injunction" issued in the same case on August 13, 2020 exceeding the statutory

   provisions further prejudicing the appellant and four months of litigation. The insistent dysfunctional

   preliminary injunction was based on the appellee’s claimed apprehension and fear that their goodwill

   would be harmed if the conditions of the temporary restraining order (“TRO”) were lifted and if an

   injunction were not granted.

4. The two appeals not only arise from the same proceeding(s) but involve closely related issues

   presented to the court as SLAPP litigation. The district court’s perspective reflects a fundamental

   misunderstanding of the nature of the claims before it and exceeds the court's authority to exercise

   control over the parties in the absence of statutory legal constraints.

5. Both appeals will also require the Circuit Court to carefully examine statutory laws and state

   common-law rights including those based on ESI in 1998, 1999, 2000, 2001 and 2020:

       a. Title 15 U.S. Code § 1111 - Notice of registration; display with mark; recovery of profits and

           damages in infringement suit, because the appellee fails to disambiguate itself, other users or




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               its own ambiguous unregistered intellectual property with the registered symbol ® or in

               common-law with the ™ symbol.

           b. Title 15 U.S. Code § 1114 - Remedies; infringement; innocent infringement by printers, 15

               USCA § 1114(2)(C) states: Injunctive relief shall not be available to the owner of the right

               infringed or person bringing the action under section 1125(a) of this title with respect to an

               issue of a newspaper, magazine, or other similar periodical or an electronic

               communication containing infringing matter or violating matter where restraining the

               dissemination of such infringing matter or violating matter in any particular issue of such

               periodical or in an electronic communication would delay the delivery of such issue or

               transmission of such electronic communication after the regular time for such delivery or

               transmission, and such delay would be due to the method by which publication and

               distribution of such periodical or transmission of such electronic communication is

               customarily conducted in accordance with sound business practice, and not due to any

               method or device adopted to evade this section or to prevent or delay the issuance of an

               injunction or restraining order with respect to such infringing matter or violating matter.


       In trademark cases, courts must address the constitutional scope of “writings.” For a particular work

to be classified “under the head of writings of authors,” [or creators] the Court determined, “originality is

required.” 100 U.S., at 94 (1879) on trademarks. The Appellant alleges on appeal that the HOKC is not the

origin and is not the source of the “Kentucky Colonel” or the “Kentucky Colonel Commission” or of the

“Kentucky Colonels” (name) or the “Kentucky colonels” (people) that pertain or that they may serve as an

independent organization; the District Court nor the USPTO should not have deferred to the plaintiff’s lead

(wisdom) based on a misdescriptive, presumptive or fraudulent proclamation that the corporation has been

of any unknown or uncertain origin in 1813, 1931, 1933 or 1951; because on the presumptive legal



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suggestions of the plaintiff the court provided injunctive relief (unlawfully) against an online publication

and blocked publicly accessible information from the public known as the Creative Commons (an

educational sphere) previously accessible to the United States Trademark and Patent Office examiners using

a TRO issued less than 10 days after filing three (fraudulent or bad-faith) trademark applications, in a

sophisticated harmonious legal symphony that never should have been conducted or heard by the district

court without more reliance on the defendant’s position and more thorough review of the initial complaint.

The legal maneuver removed the defendant from search engine rankings during the trademark examiners

research period blocking the defendant’s published works and Creative Commons content.

       WHEREFORE, for the foregoing reasons, Appellant respectfully requests that this Court combine or

join Case Nos. 23-5795 and 23-6108 because they both are in essence the same case and are dependent on

one and the other, it will facilitate and expedite the case by providing affirmative relief to the Appellant.



    B. MOTION TO RECOGNIZE APPELLANT PRO-SE IN FORMA PAUPERIS

       The Appellant, Colonel Wright, moves the Court to recognize him as an independent Kentucky

Colonel (a living individual person) that is appealing this controversy pro se in forma pauperis. Appellant,

herein moves for leave to proceed in forma pauperis pursuant to 28 U.S.C. § 1915(a) and Rule 24 of the

Federal Rules of Appellate Procedure.

       In support of this Motion, Appellant submitted and completed the Circuit Court’s “Form 4 -

Affidavit Accompanying Motion For. Permission To Appeal In Forma Pauperis” demonstrating his inability

to pay the costs of this appeal without undue hardship. See 3:20-cv-00132-RGJ, [Document 133-1] Filed

08/31/23, 7 Pages, PageID # 3827. Less than four months ago the U.S. District Court affirmed in an order

that the Appellant met the Court’s criteria to waive the filing fees and be admitted as a Pro-Se in Forma

Pauperis Appellant in 3:20-cv-00132-RGJ, [Document 137] Filed 09/21/23, PageID # 3837.




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       Independent Kentucky Colonel Status. Appellant is an independent Kentucky Colonel, a title

associated with the Commonwealth of Kentucky as an honorable public officer (an act in law) entitled to the

rights, privileges, and benefits of serving the state as a goodwill ambassador for his lifetime. “Kentucky

Colonels and notaries public are [ ] created in the name of the Commonwealth, by its Chief Executive…” —

Chief Justice Bertram Combs in City of Louisville Municipal Housing Commission v. Public Housing

Administration, 261 S.W.2d 286 (1953).

       Kentucky Colonels International, a non-profit unincorporated association started by the Appellant,

conforms and registers commissions for individuals recognized for their contributions to the

Commonwealth, promotes the nominative use of the Honorable Title of the Kentucky Colonel publicly and

privately, addresses policy surrounding the Kentucky Colonel Commission, and provides its supporters with

network services and information communications technology (“ICT”) since as early as 1998. This legal

status internationally does not provide any direct financial support or benefit to the appellant, nor does it

constitute employment by the State of Kentucky, nor is it connected or relative to the Appellee’s

organization. On information and belief, the Appellee omitted the fact that the Defendant as a Respondent

was a donor, member, and volunteer of the organization suing him without his Honorable Title to prejudice

him.

       Appeal Concerns Public Interest Matters. This appeal raises questions of significant public

interest related to trademark law, the right to publicity, the right to use a title in good-faith, discrimination,

and freedom of speech; particularly concerning the boundaries of trademark protection for ideas and terms

with historical significance from the public domain, as well as regulating and defining a trademark holders’

ethical conduct. A positive outcome could benefit not only Appellant, but also individuals across the nation,

owners of other unprotectable geographically descriptive, merely descriptive and generic trademarks and

several others that have been bullied out of their ideas by the Appellee in recent years. There are many




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justices, elected officials and other public officials in America that also maintain the “Honorable Title of the

Kentucky Colonel” that are not active or inactive members of the appellee’s privatized organization, simply

because they are not beholding in their consent to the private entity, but to the governor and to the state

which has commissioned them honorably for their deeds.

       WHEREFORE, for the foregoing reasons, Appellant respectfully requests that this Court recognize

him as a pauperis appellant for the purposes of both Case Nos. 23-5795 and 23-6108 because they both

essentially the same case.



         C. MOTION TO DESIGNATE PRO-BONO CIVIL RIGHTS COUNSEL

       The Appellant, Colonel Wright, a Pro Se In Forma Pauperis Appellant currently working and

residing in Colombia, hereby moves for the appointment of pro bono counsel for this appeal pursuant to 28

U.S.C. § 1915(d) and the inherent authority of this Court. A “circuit's legal standard for resolving §

1915(e)(1) motions requires the district court to consider both the difficulty of the case and the pro se

plaintiff's competence to litigate it himself.” Pruitt v. Mote, 503 F.3d 647 (7th Cir. 2007). The case record in

3:20-cv-00132 was over 730 pages long within 10 days of being filed, its complexity and the serious

allegations compelled the court to produce a temporary restraining order within the first 7 days against an

organization engaged in nonprofit publishing activities over a trademark allegation about state’s icon the

“Kentucky Colonel” seeking over 1 million dollars in damages is obviously very complex, especially for

defendant as a legal novice, to make it even more complex the Appellee ambiguated itself with the

Appellant’s keyword creations and search terms developed by the Appellant for everyone’s use through his

website as a portal in the late 1990s through 2001.




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I. Prejudice Due to Past Denial of Pro Bono Counsel

       A. Underlying Arguments and District Court Ruling

       In the underlying district court litigation, the case and the original burdenous complaints required

exorbitant retainers of $25,000 to $50,000 to take up what quickly became a 9 pound case involving over

700 pages of pleadings 3:20-cv-00132 [DN-1 through DN-23] by the 14th day generated and tendered by

the Plaintiff for the district court. Appellant sought appointment of pro bono counsel due to financial

hardship and lack of experience with legal matters exhibited by his filing in Case 3:20-cv-00132-RGJ,

[Document 24] Filed 03/04/20, Pages #: 734-743 and [Document 35], Filed 05/21/20, 4 Pages, PageID #

826. However, Appellee argued that it was not within the scope of the court’s authority to appoint or

designate counsel to the appellant as a defendant or permit the appellant to represent the other defendants.

The District Court provided Defendant(s) additional time to acquire counsel, but refused access to Pro Bono

Assistance Opportunities for the Western District of Kentucky, specifically the Pro Bono Assistance

Program. In July 2018, the United States District Court for the Western District of Kentucky adopted a Pro

Bono Civil Case Protocol which implements a new pro bono program designed to address the Court’s

growing need to provide counsel for indigent litigants in certain civil cases. The Appellant has learned that

both district and circuit courts are very restrictive in choosing which cases it may accept for their Pro-Bono

Programs.

       B. Prejudice Arising from Denied Pro Bono Counsel

       Appellant contends that the District Court's denial of pro bono counsel or failure to refer the

defendants to a pro-bono program and more recently based on Appellee's response argument have resulted

in substantial prejudice, affecting the case's outcome. Specifically:

       Unequal representation: Appellant, a pro se litigant lacking legal expertise, faced a

highly-resourced adversary spending over $50,000 initially in the case represented by a highly-experienced



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law firm. This imbalance significantly hindered Appellant's ability to present a fully developed case and

respond effectively to Appellee's arguments in the District Court.

       Inadequate understanding of complex legal issues: The case involved intricate legal questions

exceeding Appellant's pro se capabilities. Without pro bono counsel to navigate these complexities,

Appellant's presentation likely suffered, potentially impacting the court's decisions.

       Misinterpretation of factual evidence: Appellant believes pro bono counsel could have more

effectively addressed crucial evidence and presented it in a way that better served the court's understanding

of the case as a frivolous overhanded SLAPP action.

       C. Pruitt v. Mote and the Prejudice Standard

       While Pruitt v. Mote, 503 F.3d 647 (7th Cir. 2007) holds that a denial of a request for pro bono

counsel is not reversible unless the plaintiff shows prejudice, subsequent case law in the Sixth Circuit

recognizes instances where prejudice stemming from such denial warrants intervention.

       Notably, this Court's pro bono program under Mr. Ken Loomis, according to the “Guide To

Volunteer Pro Bono Appeals In The Federal Courts”, “assigns appointments based on a rotation of available

attorneys and law students. Law students may handle non-CJA pro bono appeals only in association with a

supervising attorney, pursuant to Sixth Circuit Rule 46(d). Pro-bono appointments in civil appeals are

uncommon; usually less than 10 [fewer more] non-CJA pro bono appointments are made each year. The

most common types of non-CJA appointments are § 1983 cases.” However, it will soon become apparent to

the Sixth Circuit that this case was wrongly proceeded as a trademark case against a member (former

member) who was blowing the whistle on the Appellee that sued him; it will also learn that the SLAPP

action was a retaliatory lawsuit against a 20 year donor, member and volunteer of the Appellee’s

organization; it will become clear that the Plaintiff’s counsel intentionally omitted and/or concealed relevant

and significant information which would have otherwise barred it from bringing a suit; the Court will also




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learn that this appeal is specifically about the appellant’s civil rights and interference with them under 42

U.S. Code § 1983 - Civil action for deprivation of rights, which upon de novo review of the Defendant’s

Initial Appearance in Case 3:20-cv-00132-RGJ, [Document 24] Filed 03/04/20, Pages #: 734-743 will

become abundantly clear. This is around the same time a Judge David Hale, recused himself from the case

and it was reassigned to Judge Rebecca Grady Jennings which most likely overlooked the filing that was

served in time (but not delivered to the courtroom in time) to be heard by Judge Hale in a hearing conducted

on March 04, 2020 and people were beginning to panic over COVID-19. (Zoom appearances and email

filing for pro se defendants were not yet an option.)

       1. 28 U.S.C. § 1915(d) - This statute grants federal courts the inherent authority to appoint pro bono

counsel for indigent litigants in civil cases "in exceptional circumstances." This is a discretionary power,

and courts consider various factors to determine whether a case qualifies as "exceptional" [or special].

       2. Sixth Circuit Precedent - Prejudice Factor: The Sixth Circuit emphasizes the prejudice factor in

its pro bono appointment decisions. This means the court will assess whether the litigant suffered or is likely

to suffer significant prejudice due to the lack of legal representation. This prejudice can manifest through

various ways, such as:

   ● Difficulty navigating complex legal procedures and evidence.

   ● Ineffective presentation of previous arguments and claims.

   ● Unequal footing against an opponent with legal representation.

Other Factors - Along with prejudice, the court may consider other factors like:

   ● The merits of the case: Although not a sole determining factor, a strong legal claim can increase the

       likelihood of appointment.

   ● Litigant's efforts to secure pro bono counsel: Demonstrating attempts to find an attorney

       independently can show genuine need.




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    ● Availability of qualified pro bono counsel: The court may consider the difficulty of finding

        suitable counsel in your specific case.

    ● Additional consideration may be given: That there is no constitutional or statutory right to

        court-appointed counsel in federal civil litigation, an indigent civil litigant may ask the district court

        to request an attorney to represent him pro bono publico. See 28 U.S.C. § 1915(e)(1) (in proceedings

        in forma pauperis, however "[t]he court may request an attorney to represent any person unable to

        afford counsel").

        3. 42 U.S.C. § 1983 Cases - While not a guarantee, claims brought under § 1983 for civil rights

violations can sometimes be considered "exceptional" due to their complexity and potential public interest

implications in the Sixth Circuit. However, the court will still evaluate the individual circumstances of the

case and the aforementioned factors before making a decision. Perhaps the fact that so many Circuit Court

Judges are Kentucky Colonels but not necessarily a member or donor of the Plaintiff’s organization may be

something to consider here. The Appellant affirms that the case and controversy bears right down upon

extraordinary and special civil “rights, privileges, and responsibilities” designated honorably and legally by

a Kentucky Governor upon a citizen of the United States, to use the Honorable Title: Kentucky Colonel ad

hoc, formally and informally, freely to procure personal benefit with letters patent. The Court has never had

a case like this one.

        “After observing that civil rights cases often involve a common core of complex facts and

interrelated… knowledge of the conduct of the litigation, the complexity of the case, and the skill exhibited

by counsel… remains on the books as the workhorse of civil rights litigation.” Andrew Ellsworth Morgan v.

District of Columbia, (Two Cases) (D.C. Cir. 1987) 824 F.2d 1049, 263 U.S. App. D.C. 69




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II. Appellant's Indigence and Need for Pro Bono Counsel

       As evidenced by previously submitted 3:20-cv-00132-RGJ [Document 133-1], Filed 08/31/23, 7

Pages, PageID # 3827, Appellant remains unable to afford private counsel. Moreover, due to living and

working on the Orinoco River at Puerto Carreño in Colombia is an obstacle that limits his ability to access

many legal resources, securing pro bono counsel independently is highly challenging. Therefore, the

appointment of pro bono counsel by this Court is crucial for ensuring access to justice and a fair resolution

on appeal.


III. Conclusion

       Based on the substantial prejudice suffered due to the denied pro bono request and the concealment

of relevant facts known by the Plaintiff in the District Court, Appellant's continued financial hardship, the

fact that the Appellant is living and working in Colombia and the significant complexity of the legal issues

on appeal, the appointment of pro bono counsel is demonstrably warranted. Granting this Motion will serve

the interests of justice and ensure Appellant's civil, common-law, constitutional and ethical rights to be

heard on equal footing in this crucial landscape changing appeal before this Court.

       WHEREFORE, for the foregoing reasons, Appellant respectfully requests that this Court grant his

Motion for the Appointment of Pro Bono Counsel.



               D. MOTION TO EXTEND INITIAL BRIEFING SCHEDULE

       Appellant, Colonel Wright moves the Court to extend the Initial Briefing Schedule until it can fully

consider the Appellant’s MOTION TO DESIGNATE PRO-BONO CIVIL RIGHTS COUNSEL (supra), and

consider MOTION TO DESIGNATE SPECIAL MASTER AND SUSPEND COURT RULES (infra) which

may even resolve this controversy and case without further damage, excess expense, or injury to the parties.



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The Appellant asserts than an extended briefing schedule would not be prejudicial to the Appellee; however

due to the Appellant’s lack of access to legal resources due to where he lives and works on the Orinoco

River in South America, due to the Appellant’s lack of access to high-speed Internet he limited in his ability

to communicate freely internationally with others in the United States by IP telephone or via

videoconference (this obstacle will be resolved March 21, 2024) and due to the fact that the original case is

based on the Appellant’s civil rights being sanctioned under an Agreed Permanent Injunction that was

sealed with a Court Mediator’s Proposal and Confidential Court Mediated Settlement Conference, which

was equitable notwithstanding the Appellant’s Civil Rights, that he may be further prejudiced.

       So far, the Appellee/Plaintiff has invested to date over $500,000.00 in three years of vexatious,

unsubstantiated and unsustainable trademark litigation which has been quietly dismissed, to bring the author

of the first “Kentucky Colonels” [trademark?] website to court, cause him great irreparable harm in his

objectives with his intellectual property (which was not abandoned or compromised in 3:20-cv-00132) and

to intentionally inflict damage to his reputation among other members, gain an unlawful biased judgment

sanctioning him on two dismissed cases based on something that was never proven, precautionary measures

to restrict his civil rights, and now upon who may be shown to be the actual “first and original owner of the

common-law trademark” in his creative ecommerce efforts with “KENTUCKY COLONELS'' and

“KENTUCKY COLONEL” as keywords, tags and search terms he would use for his website [colonel.org]

under common-law, copyright law, and trademark and patent law.

       In good faith, it is hard to imagine that the Appellee will not need more time or less to prepare their

reply brief, any more or any less so much as the Appellant may be a disabled, poorer, prejudiced, and an

unresourceful opponent compared to the appellee’s law firm that has access to legal subscription services,

online filing and databases that the appellant does not. A person can only manifest so much with Juris-M

Software, however the Appellant cannot justify the request for any more time provided to pro se appellants




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or delay the proceeding any longer than it may take to find pro-bono assistance and/or court appointed

pro-bono counsel or time that may be needed to properly prepare an extensive Appellate Brief for an

extraordinary case, prejudiced, ready or not.

       WHEREFORE, for the foregoing reasons, Appellant respectfully requests that this Court grant his

Motion to Extend Initial Briefing Schedule 30-60-90 days to afford additional time for the Court to consider

the Appellant’s MOTION FOR AFFIRMATIVE RELIEF in its entirety, and so the pro se in forma pauperis

Kentucky Colonel living on the Orinoco River can have as much time as the court can afford to provide to

the Appellant in addition to the normal “combined appeal” rescheduling time frame granted based on the

graceful discretion of the Clerk of the Court and the Justices.



E. MOTION FOR APPOINTMENT OF SPECIAL MASTER AND SUSPENSION OF
        RULES IN COMPLEX TRADEMARK AND COMMON-LAW DISPUTE

       Appellant under 6 Cir. R. 2 hereby moves the court to suspend the rules of the court for good

cause to seek justice, to designate this combined appeal as a special case and consider this instant

motion for the designation of a special master; under FRAP 48(a) it would definitely be instrumental for

the Court and the Parties the appointment of a special master with background expertise in trademark

examination, civil rights, and/or common-law litigation that can interview the parties, perform a de novo

review of the case file based on the pro se brief, consider the weight of appellant’s unheard answer,

affirmative defenses and motions, disambiguate the appellee’s marks from the legal reality of the term,

perform independent research, protect the public interest, discover how judicial bias and deference could

have played a role, understand how the appellant was prejudiced early in the case, study other relevant

evidence, investigate within other federal agencies, and to recommend factual findings based on relevant

and semantic indisputable evidence to propose a disposition in matters ancillary to proceedings in the Court

such as those presented and raised by the Appellant. Special masters are often assigned to cases that are not



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framed properly by the lower court, and cases that require review from multiple legal perspectives, they can

also make recommendations to mediate a case in disputes involving common-law copyright and trademark

rights.

In support of this Motion, Appellant states as follows:

    ● Colonel Wright has a meritorious claim and is likely to succeed on its merits as an appeal and

          demonstrate that the Appellee is the only party infringing on his author and commissioner rights.

    ● This case was framed improperly as a trademark infringement case against a donor, member, and

          volunteer that has (some) preeminent rights and privileges to the trademark based on evidence and

          knowledge not disclosed by the Appellee.

    ● The lower court has not demonstrated equity in law and standing of the Defendant as a Kentucky

          Colonel through his pro se attempts to resolve the controversy that were presented in the case during

          2020 and 2023.

    ● This case has multiple grounds, is complex and involves a number of novel legal issues under

          previously unchallenged circumstances presented at District Court on March 04, 2020 and a slighted,

          perhaps disregarded pleading in his Answer and Affirmative Defenses tendered on August 25, 2020

          in Case 3:20-cv-00132-RGJ [Document 62], 39 Pages, starting on PageID # 1243.

    ● The colonel may be prejudiced if the Court does not suspend the technical details of the Court Rules

          because he is a pro se in forma pauperis appellant, that needs to be heard, must be permitted to

          exceed page limits to understood in this appeal and protected as the nemesis of the appellee in a

          retaliatory civil rights conspiracy using trademark rights.

    ● The colonel is a whistleblower, a commentator, an honorable officer, a goodwill ambassador and has

          been unlawfully targeted, scapegoated, and libeled by the appellee as an assumed disdainful donor,




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       member, volunteer or illegitimately notwithstanding his honorable title since the reprisals of this

       retaliatory controversy began.

   ● The colonel wishes to introduce evidence which is known to exist that was concealed by the appellee

       including a letter to the governor, fair consideration of a legitimate merger proposal, the existence of

       his intellectual property rights, newspaper articles on file at the Chronicling America project of the

       Library of Congress, evidence from the appellee’s archives and the Internet Archive.

   ● The colonel wishes to demonstrate that filing two SLAPP suits disguised as trademark infringement

       litigation is not an effective strategy for known trademark bullies to maliciously move mountains,

       mounds or mole hills with an abuse of false authority.


       A special master is an individual appointed by a court to assist with specific tasks in a case. Special

masters are often appointed in complex cases where the court needs assistance with tasks such as:

conducting discovery, disambiguating the issues, reframing the case for the court and managing the flow of

information between the parties, settling disputes between the parties, making recommendations to the court

on legal or factual issues, overseeing the execution of an interim settlement agreement or a court order.

Special masters can address issues in complex matters that are intertwined with the state’s famous founding

history, iconography, folklore, and wive’s tales that were part of the public domain before being used as a

trademark or incorporated as a private entity, as well may be necessary in this case. A special master can

also serve as a mediator to propose solutions amenable to the parties or recommend summary judgment, a

judgment on the pleadings or expedite a declaratory judgment all of which were requested by the Appellant

and remain unheard by the District Court.

       Special masters may be appointed to assist with complex appellate cases with various tasks. Most

likely a special master can resolve this case that was a controversy and remains a controversy because only

a Special Master or this Court can recommend new legal settlement parameters, restore the deprived



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mis-garnered civil rights to name and publicity of the Appellant, to mediate a new equitable multi-party

agreed permanent injunction that disambiguates the terminology, copyrights, trademarks, patents, public

domain, creative commons, open source, descriptive and generic uses of the terms to guarantee the rights of

first, second and third parties within the scope of the Constitution, U.S. Code and Kentucky Common Law.

        Appointing a Special Master can be considered a form of affirmative relief in certain circumstances.

Special Masters typically serve as advisors to the court, assisting with complex factual or legal issues and

potentially recommending solutions. While special masters cannot directly order parties to take actions,

their findings and recommendations can significantly influence and steer the court's final decision and bring

benefit to the parties.

        The Appellant, makes the following cursory motion to be excused and pardoned from the Federal

Rules of Appellate Procedure for the Sixth Circuit Court of Appeals under Rule 2, or as may be

necessary — to herein suspend the rules of the court due to the fact that the appellant is not an attorney; the

Appellant is a pro se or pro-persona appellant, he is without funds or savings, a pauper compared to most,

he works outside of the United States in Colombia, and he is a whistleblower that was affirmed to be a

Kentucky Colonel and former member of the Appellee and by the District Court in the Agreed

Permanent Injunction under Stipulation Five (see HOKC v KCI, 3:20-cv-00132-RGJ-RSE, [Document

93] Filed 02/23/21, Page 3 of 4 on Case PageID #: 2058); and because this Appeal seeks to finally resolve

this case, controversy and dispute by vacating two cases wrongfully brought by the appellee that were

dismissed with prejudice under an equitable agreed permanent injunction that was mistaken for a

prohibitive preliminary injunction and a court mediated settlement agreement that was breached by

the appellee and the lower court. The Appellant trusts the Court will make a good decision and serve

justice so that reparations can be made or so that damages caused by the Appellee can be absolved.




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       The Appellant moves the court to relax the rules of the court because this appeal requires the court to

review an unresolved semantic common-law controversy between the parties over many years, two or

more distinct acts of retaliation against the appellant, a civil rights conspiracy against the appellant’s rights

using trademarks to intimidate allies and other competitors, concealment of known relevant information,

and to resolve the matter expeditiously within the strict letter of the law through a final judgment that seeks

to cancel three or more trademarks that were hastily and mistakenly registered by the U.S. Patent and

Trademark Office (“USPTO”) that dilute, disparage, defame and discriminate against living people and

moreover misappropriate state history based on a false origin of 1813. Recently in October the Appellant

received new unlawful cease and desist demands and threats from the Appellee counsel despite the

Notification of Appeal it received on August 31, 2023 creating the potential necessity for a restraining order

against the Appellee and the protection of the Appellant as a whistleblower.

       A special master, appointed by the court, can assist with various tasks in a complex appeal or one

that involves confidential details that were previously settled by the lower court on appeal. Special masters

may be assigned to resolve disputes, provide recommendations, and oversee the execution of court orders

(See Marconi Wireless Tel. Co. v. Simon, 246 U.S. 46, 54 (1918)).


                   MOTION TO SUSPEND THE RULES OF THE COURT

       The appellant also seeks to be excused from the Federal Rules of Appellate Procedure, citing his pro

se status, financial status quo limitations, and whistleblower role as a 20 year member and volunteer of the

Appellee’s organization. The appellant requests relaxation of the rules to address an unresolved semantic

common-law controversy, retaliation acts, a civil rights conspiracy, and the need for a final judgment

canceling allegedly mistaken trademarks. Certainly if the Appellee managed to manipulate the rules of the




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court to get the case heard in the first place, it is not too much to consider their suspension for a pro se

appellant to afford him the right to due process.

        “We think that the proper rule to apply, in applying our rules”, is stated in 21 CJS, Courts, § 178, p

284, thus: ‘rules of court are but a means to accomplish the ends of justice, and that the court has the power

to modify, suspend, or rescind its own rules whenever justice requires it, at least where no party is

prejudiced thereby’. There is no legal imperative of the court to hold against a pro se appellant any

infraction of the rules of the court or to hold a pro se appellant in strict compliance with the rules of the

court; however this does not excuse a member of the bar that is admitted to practice in the court from the

rules of the court.

        "We do not of course wish to be in the position of applying a rule of foot in enforcing these rules but

the court should administer them in a discretionary manner. When it appears to the court that no harm can

be done to the one who makes the motion to enforce the rule, and that an injustice would be done by

enforcing the rule, then the court should use grace and discretion in administering the rule. If circumstances

demand, an imposition of terms may be applied [to a case]." Guastello v. Citizens Mutual Insurance, 160

N.W.2d 725 (Mich. Ct. App. 1968) Similarly, see Adams v. Sharp (1964), 61 Cal 2d 775, 777, 778 (40 Cal

Rptr 255, 394 P2d 943, 944); Myers v. Duibley (1952), 94 Ohio App 228, 231, 232 (114 NE2d 832, 835);

Handelman v. Handelman (1954), 17 NJ 1, 9, 10 (109 A2d 797, 802); People v. Davis (1934), 357 Ill 396,

399, 400 (192 N.E. 210, 212); Ex parte Poultney v. City of Lafayette (1838), 37 US (12 Pet) 472, 475 (9 L.

Ed. 1161, 1162); Smirl v. Globe Laboratories, Incorporated (1945), 144 Tex 41, 45 (188 S.W.2d 676, 678).

        FRAP 2 Suspension of Rules “On its own or a party’s motion, a court of appeals may expedite its

decision or for other good cause suspend any provision of these rules in a particular case and order

proceedings as it directs, except as otherwise provided in Rule 26(b)”, 6 Cir. R. 2 Suspension of Rules

“The court may suspend any provision of these rules to expedite its decision or for other good cause.”




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       If this Court will consider what happened to Colonel Wright based on a judicially biased, front-end

loaded and weighty SLAPP action, following the discussions, financial ruin, negotiations and mutual

interests between the parties from 2014-2020, or perhaps understand how his personal reputation suffered

based on careless, libelous accusations and scandalous statements to the media about him as an individual,

member of 30,000 fellow members by email many who personally know the Appellant, the value of his

time, work and effort he dedicated over the past 20 years and everything that he has worked to achieve

shredded by the Appellee that has produced a perfectly ripened piece of fruit for the Sixth Circuit Court of

Appeals.

       There are compelling reasons to expedite this appeal and to treat all the issues raised by the

appellant. This case is a matter of public interest, a threat to culture, a threat to the state’s semantic history,

and a situation where delay continues to cause irreparable harm to the pro se appellant and many others that

have been practically silenced with few legal exceptions. The case has not received investigative journalist

attention because on its face it appears to be a nuisance lawsuit over the use of a trademark, where in reality

it is a case over civil rights, trade names, the right of publicity and the use of the Kentucky Colonel title by

the 800,000 owners of it.

       Suspending FRAP is necessary to achieve expeditious and thorough resolution to treat all the issues

raised in this case. This means that the court must find that there is no other way to expedite the case

without suspending the rules. Suspending FRAP will not prejudice any party's rights. This means that all

parties will have an opportunity to be heard and their rights will be protected.

       WHEREFORE, for the foregoing reasons, Appellant respectfully requests that this Court grant his

Motion to Suspend the Rules of the Court and Designate a Special Master as part of the Appellant’s

MOTION FOR AFFIRMATIVE RELIEF in its entirety, and so the pro se in forma pauperis Kentucky

Colonel living on the Orinoco River can have as much time as the court can afford to provide to the




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Appellant in addition to the normal “combined appeal” rescheduling time frame granted based on the

discretion of the Clerk of the Court and the Justices.



                                        PRAYER FOR RELIEF


       WHEREFORE, for the reasons stated above, Appellant, Colonel Wright, respectfully requests this

Court to grant the following affirmative relief and continue this case providing him a new extended deadline

and schedule for his Appellate Brief withstanding consideration of this instant motion:

1. Motion to Combine 6th Circuit Appeals 23-5795 and 23-6108: Grant Plaintiff/Appellant's Motion to

Combine the above-mentioned appeals for judicial economy and clarity, considering the significant overlap

in factual legal issues and additional errors presented within the same case. Documents 1-10 in case number

23-5795 and Documents 1-5 and this instant document should all be considered together.

2. Motion to Recognize Appellant/Defendant Pro Se in Forma Pauperis: Grant Appellant's Motion to

Proceed in Forma Pauperis due to demonstrated financial hardship established in September of 2023,

allowing Appellant to pursue this appeal without undue financial burden or further hardship.

3. Motion to Designate Pro-Bono Civil Rights Counsel: Grant Appellant's Motion to Designate Pro-Bono

Civil Rights Counsel due to the complex nature of the legal issues involved, financial insolvency and the

significant disadvantage Appellant faces as a pro se litigant up against a team of experienced and licensed

practicing attorneys.

4. Motion to Extend Appellant Initial Briefing Schedule: Grant Appellant's Motion to Extend the initial

briefing schedule due to the combined complexity of the two appeals, the lack of legal representation, and

the need for additional time to effectively research and prepare the combined brief.




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5. Motion to Designate Special Master and Suspend Court Rules: Grant Appellant's Motion to

Designate a Special Master to oversee appellate proceedings, considering the sensitive nature of the case, its

complex nature, and potential conflicts of interest with the appellee or the censorship of relevant evidence.



        In the alternative, the Appellant humbly prays the Court will suspend certain court rules that may

pose undue hardship or disadvantage to Appellant as a pro se litigant, ensuring equal access to justice and a

fair opportunity to present the case. Additionally, it is the Prayer of the Appellant that the Court grant any

other relief deemed appropriate, just and equitable.

Puerto Carreño, Colombia
Dated: January 02, 2024




                                                               Col. David J. Wright
                                                               Kentucky Colonel
                                                               david.wright@colonels.net
                                                               +1 (859) 379-8277


                                             Certificate of Service

I hereby certify that on January 02, 2024, I emailed for filing the foregoing Notice of Appeal with attachments to the
Clerk of the Court for the United States Sixth Circuit Court of Appeals using the special Pro Se Intake Email
CA06_Pro_Se_Efiling@ca6.uscourts.gov for entry by the Court Clerk in the CM/ECF system. I certify that all
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Deborah S. Hunt, Clerk
Sixth Circuit Court of Appeals
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